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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



   In re:                                                     Case No. 20-62473-pmb

   Ascension Air Management, Inc.,                            Chapter 7

   Debtor.


                                    Notice of Appearance

   Pursuant to Fed.R.Bankr.P. 9010(b), John M. McGovern is appearing for creditor
   Executive Visions, Inc. and requests service of all documents filed in this case.

   Dated: March 26, 2020


   /s/ John M. McGovern
   John M. McGovern
   Georgia Bar No. 492855
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                                        Certificate of Service

   I certify that today I served via first class United States Postal Service mail a copy of the
   foregoing Notice of Appearance upon the following individuals and entity:


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   Dated: March 26, 2020


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